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                                       No. 21-35637

                                             In the

       United States Court of Appeals
                                             for the

                                    Ninth Circuit

                    FIRST AND STEWART HOTEL OWNER, LLC,
                         a Delaware limited liability company,
                                 Plaintiff-Appellant,

                                               v.

                    FIREMAN’S FUND INSURANCE COMPANY,
                            a California corporation,
                              Defendant-Appellee.
                           _______________________________________
On Appeal from the United States District Court for the Western District of Washington (Seattle),
  Case No. 2:21-cv-00344-BJR-DLR • Honorable Barbara J. Rothstein, U.S. District Judge

           REPLY BRIEF OF PLAINTIFF-APPELLANT
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                             INTRODUCTION

     Fireman’s Fund Insurance Company’s (“FFIC”) Answering Brief

(“Opp.”) suffers from three critical flaws, each of which is an

independent basis for reversal in favor of First and Stewart Hotel

Owner, LLC (“F&S”).

     First, FFIC cannot demonstrate F&S’s interpretation of the

Policies is unreasonable, i.e., that the Policies’ Communicable Disease

Coverage is an express recognition that virus is a “covered cause of

loss”—meaning the presence of a communicable disease satisfies the

Policies’ coverage trigger. Unable to muster a legitimate alternative

interpretation of the relevant Policy language, FFIC argues that

“common sense” demonstrates the presence of SARS-CoV-2

(“Coronavirus”) and the disease it causes, COVID-19, cannot cause

physical loss or damage (Opp., 40). But that is not good enough.

     As one court has already found, physical loss or damage is

sufficiently pled where Coronavirus “was actually present and actually

damaged the property,” and the policy “expressly covers loss and

damage caused by ‘communicable disease.’” Cinemark Holdings, Inc. v.

Factory Mut. Ins. Co., 500 F. Supp. 3d 565, 569 (E.D. Tex. 2021). Any



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finding to the contrary renders the Policies’ Communicable Disease

Coverage illusory. Indeed, if this coverage requires physical loss or

damage, but a communicable disease like COVID-19 cannot cause

physical loss or damage, as FFIC asserts, then why did FFIC collect

premiums for this coverage?

     Second, FFIC inappropriately continues to frame F&S’s claim as a

mere “loss of use” claim, arguing F&S’s losses were caused solely by

government orders. But no matter how many times FFIC repeats its

“loss of use” rhetoric, rife with citations to caselaw addressing solely

government order-related losses, it cannot change the crux of F&S’s

well-pled Amended Complaint (“Complaint”): Coronavirus was present

at the Thompson Seattle Hotel (the “Hotel”), in the air and on surfaces,

damaging the property and rendering the Hotel unsafe and unfit, in

whole or in part, for its intended uses.

     Third, FFIC disregards the Policies’ coverage for a “slowdown” of

F&S’s operations. This provision renders impotent the district court’s

attempt to distinguish Port Authority and the other

toxic/hazardous/noxious substance cases as requiring an “all-

encompassing loss” (that is, a complete shutdown of operations) equated



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with physical damage. F&S need not show such an “all-encompassing”

loss to recover under its Policies. Only a “slowdown” is required.

FFIC’s failure to address this coverage is significant.

     These three issues distinguish F&S’s case from most other

Coronavirus insurance coverage cases, and thus render FFIC’s decision-

tallying exercise, by which it gathers numerous Washington authorities

and “500 cases from 37 other states” (Opp., 11), irrelevant. Indeed,

Washington courts merely require the presence of an external force on

insured property to trigger coverage. Seattle Tunnel Partners v. Great

Lakes Reinsurance (UK) PLC, 492 P.3d 843, 856 n.16 (Wash. Ct. App.

2021) (holding coverage is triggered “when the loss of use occurred

because of a physical effect on the insured property”).1 And that is

exactly what F&S alleged in its Complaint.

     FFIC’s other arguments, including “Period of Restoration,” require

F&S to allege that “property had to be repaired or rebuilt,” (Opp., 19),

miss the mark. “Period of Restoration” governs the quantum of

coverage in specific scenarios, and simply does not determine whether




     1 Emphasis is added unless noted; internal quotation marks and
citations omitted unless noted.

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coverage has been triggered in the first place. But either way, F&S

sufficiently alleged property damaged by communicable disease was

“repaired” within the meaning of that term.

     Furthermore, notwithstanding that the heart of the Complaint

alleges physical loss or damage to insured property caused by

Coronavirus, FFIC also fails to articulate any persuasive argument why

the Washington decisions finding “physical loss” due to government

shutdown orders were incorrectly decided (Opp., 31).

     Finally, if the Policies’ Mortality and Disease Exclusion (the

“M&D Exclusion”) were construed to apply to losses caused by a

communicable disease, the Communicable Disease Coverage is illusory,

as there is no carve-out in the M&D Exclusion for this coverage, or any

other policy language suggesting the Communicable Disease Coverage

is an exception to the M&D Exclusion. FFIC’s post-loss interpretation

thus violates Washington law. Olympic S.S. Co. v. Centennial Ins. Co.,

811 P.2d 673, 680 (Wash. 1991) (rejecting insurers’ interpretation that

would render coverage “illusory”).




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                                   ARGUMENT

I.   FFIC IGNORES THE EXPRESS DESIGNATION OF
     “COMMUNICABLE DISEASE” AS A “COVERED CAUSE
     OF LOSS”

     FFIC dedicates less than a page to address the Policies’ express

recognition of “communicable disease” as a “covered cause of loss” that

causes physical loss or damage (Opp., 40). In its cursory response,

FFIC does not address any of F&S’s caselaw, let alone the Policies’

coverage language. Instead, FFIC merely argues “common sense”

dictates Coronavirus cannot damage property. (Id.)

     But FFIC’s self-serving view of “common sense” does not control

over the Policies’ terms. Here, the Policies broadly define “covered

cause of loss” as any “risk[] of direct physical loss or damage not

excluded or limited” by the Policies. 2-ER-89.2 The Policies’

“Extensions of Coverage” include “Communicable Disease Coverage.”

2-ER-58-59. Under this coverage, FFIC will pay for “costs incurred to: .

. . [r]epair or rebuild Property Insured which has been damaged or

destroyed by the communicable disease,” id., defined to include a “virus,”

2-ER-89. These Policies could not be clearer that communicable disease


     2 Other than limits and sublimits, the Policies are identical. 1-ER-
5 n.2. Citations are to the 2019-2020 Policy.

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causes physical damage. The inclusion of this coverage in the Policies

demonstrates virus/disease is a “covered cause of loss” sufficient to

cause “direct physical loss or damage” to the Hotel and other property,

and virus/disease are not excluded.

     This is precisely what the Eastern District of Texas found in

Cinemark. There, the policy—like F&S’s Policies—provided additional

coverages for losses caused by “communicable disease.” In evaluating

whether the policyholder stated a claim, the court held:

           Unlike Selery [a case cited by insurer], Cinemark
           alleges that COVID-19 was actually present and
           actually damaged the property by changing the
           content of the air. Cinemark’s Policy is much
           broader than the one in Selery and expressly
           covers loss and damage caused by ‘communicable
           disease.’ Both parties agree ‘communicable
           disease’ encompasses COVID-19.

Cinemark, 500 F. Supp. 3d at 569.

     Other courts have likewise recognized an affirmative grant of

coverage for a specified peril renders that peril a “covered cause of loss.”

Kings Ridge Cmty. Ass’n, Inc. v. Sagamore Ins. Co., 98 So.3d 74, 75-76

(Fla. Dist. Ct. App. 2012) (finding “collapse” is a “covered cause of loss”

and not barred or limited by exclusions where “collapse” included under

“Additional Coverages”).


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      Ignoring this caselaw, FFIC argues “common sense” dictates a

different result. But as courts have recognized, the specific policy

language and facts of each case matter. Cinemark, 500 F. Supp. 3d at

569 (recognizing policy contained “broader” coverage language).

      Callously equating a deadly disease that has killed millions with

the common cold, FFIC conclusorily states “COVID-19 does not” damage

property (Opp., 40). But if a highly pervasive and contagious deadly virus

does not damage property as a matter of “experience” and “common

sense,” id., then what virus does? FFIC’s argument that Coronavirus

cannot cause physical loss or damage to property renders the Policies’

Communicable Disease Coverage illusory—and gives FFIC a windfall in

collected premiums proscribed by Washington law. Olympic S.S. Co., 811

P.2d at 680 (rejecting insurers’ interpretation that would render coverage

“illusory”).

II.   FFIC MISREPRESENTS PRECEDENT AND
      MISCHARACTERIZES F&S’S ALLEGATIONS REGARDING
      PRESENCE OF CORONAVIRUS

      FFIC takes liberties with its description of caselaw and with its

characterizations of F&S’s allegations—all of which support reversal.




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     A.    FFIC Disingenuously Cites Caselaw with no
           Allegations of Physical Intrusion

     1.    Washington Authorities Cited by FFIC are
           Distinguishable from, and Support a Finding of
           Coverage for, F&S’s Claims

     FFIC collects precedent for the proposition that “[m]ere economic

harm or loss of use is insufficient” to trigger coverage (Opp., 16). But

that is not what F&S alleges.

     FFIC admits none of this precedent involves external forces

affecting insured property as alleged by F&S. Rather, FFIC’s cases

involve mere loss of use. See Seattle Tunnel, 492 P.3d at 855 (finding,

on summary judgment, no coverage for mere “loss of use” due to

construction delays and corporate designee testified no damage to

tunnel); Villella v. Pub. Employees Mut. Ins. Co., 725 P.2d 957, 960

(Wash. 1986); Borton & Sons, Inc. v. Travelers Ins. Co., 99 Wn. App.

1010, 2000 WL 60028, at *5 (Wash. Ct. App. 2000); Wash. Mut. Bank v.

Commonwealth Ins. Co., 133 Wn. App. 1031, 2006 WL 1731318, at *4

(Wash. Ct. App. 2006) (same, where “[n]o one disputes that there was

no actual direct physical loss of or damage to the property”); Vision One,

LLC v. Phila. Indem. Ins. Co., 276 P.3d 300, 311 (Wash. 2012) (finding,




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after jury trial, “soft costs” due to delay not “physical” loss); Nevers v.

Aetna Ins. Co., 546 P.2d 1240, 1241 (Wash. Ct. App. 1976).3

      F&S does not seek recovery for “[m]ere economic harm or loss of

use” untethered to causal physical loss or damage (Opp., 26-33).

Rather, it seeks recovery for losses caused by the presence of an

external force (i.e., Coronavirus) that physically altered the air and

surfaces in its Hotel and at other qualifying property, rendering the

property unfit for its intended uses. (Section II.B.1., infra)—exactly

what communicable disease as a covered cause of loss envisions.

      F&S’s allegations, coupled with the unique policy language at

issue, trigger coverage under Washington law. Indeed, in Seattle

Tunnel, the court collected cases (many of which were cited by F&S in

its Opening Brief) finding coverage “when the loss of use occurred

because of a physical effect on the insured property.” 492 P.3d at 857

n.16 (citing W. Fire Ins. Co. v. First Presbyterian Church, 437 P.2d 52

(Colo. 1968)). The Seattle Tunnel court rejected coverage only because




      Fujii v. State Farm Fire & Cas. Co., 857 P.2d 1051 (Wash. Ct.
      3

App. 1993) and Wolstein v. Yorkshire Ins. Co., Ltd., 985 P.2d 400 (Wash.
Ct. App. 1999) are similarly distinguishable (Opening Br., 37-39).

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the policyholder’s losses were caused by “decisions they made,” and

“were not the result of any external event.” Id. at 857 n.18.

     Further, the builder’s risk policy in Seattle Tunnel covered losses

for “direct physical loss, damage or destruction (hereinafter referred to

as ‘Damage’)” to property. 492 P.3d at 855. That the policy in Seattle

Tunnel specifically defined “direct physical loss, damage or destruction”

as “Damage” is a far cry from F&S’s Policies, which cover both “loss”

and “damage.” FFIC could have collectively defined the Policies’

coverage trigger as “Damage,” but didn’t. FFIC is stuck with its own

language and should not be permitted to construe “loss” and “damage”

to mean the same thing, rendering one of those terms superfluous. See

id. at 851 (“It would make little sense for ‘property’ to mean the TBM

[tunnel boring machine] if ‘item’ also means the TBM.”).

     Finally, the Seattle Tunnel court relied on caselaw construing the

insuring agreement in standard general liability policies applying to

third-party liability for damages arising from “property damage.” Id. at

855-56. Doing so here would be inappropriate because, as noted, all-

risk first-party property policies and third-party liability policies are

different. (Opening Br., 50).



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     Consequently, FFIC’s caselaw stands in stark contrast to F&S’s

Complaint and Policies. Unlike the policyholders in the aforementioned

cases, F&S sufficiently alleged its Hotel was damaged and rendered

unsafe for its intended uses due to the presence of Coronavirus. 3-ER-

304 ¶15; 3-ER-304-05 ¶17; 3-ER-305 ¶¶18-19; 3-ER-311 ¶38; 3-ER-311-

12 ¶39; 3-ER-326-27 ¶¶84-85; 3-ER-399 ¶137. In other words, the Hotel

was in an “initial satisfactory state that was changed by some external

event into an unsatisfactory state,” Wolstein, 985 P.2d at 408, thus

triggering coverage.

     2.    FFIC’s Description of Federal Court of Appeals’
           Precedent is Misleading

     FFIC relies on recently decided cases by several Courts of

Appeals (including this Court), arguing these cases “affirmed dismissal

of [] similar claim[s]” (Opp., 25). But the claims are not similar.

Rather, these cases involved the sole question whether government shut

down orders themselves—not the presence of Coronavirus—constitute

physical loss or damage. Mudpie, Inc. v. Travelers Cas. Ins. Co. of Am.,

15 F.4th 885, 888 (9th Cir. 2021) (California law) (noting policyholder

only alleged losses from government orders); Santo’s Italian Café LLC v.

Acuity Ins. Co., 15 F.4th 398, 401 (6th Cir. 2021) (Ohio law); Oral


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Surgeons, P.C. v. Cincinnati Ins. Co., 2 F.4th 1141, 1145 n.2 (8th Cir.

2021) (Iowa law); Gilreath Fam. & Cosm. Dentistry, Inc. v. Cincinnati

Ins. Co., 522 F. Supp. 3d 1279, 1287 (N.D. Ga. 2021) (Georgia law)

(“Notably, there is no allegation that [the policyholder] had a confirmed

case of the virus in its offices.”), aff’d, No. 21-11046, 2021 WL 3870697

(11th Cir. 2021).

     Thus, these cases support coverage for F&S. Indeed, as several

courts suggested, had the policyholders alleged the presence of

Coronavirus on their property, coverage would have been triggered. Oral

Surgeons, 2 F.4th at 1144 (recognizing “physical contamination” of

property may trigger property coverage); Mudpie, Inc. v. Travelers Cas.

Ins. Co. of Am., 487 F. Supp. 3d 834, 841 n.7 (N.D. Cal. 2020) (“Had

Mudpie alleged the presence of COVID-19 in its store, the Court’s

conclusion about an intervening force would be different.”), aff’d, 15

F.4th 885 (9th Cir. 2021).

     3.    FFIC’s Remaining Caselaw is Unpersuasive

     FFIC boasts of the “over 500 similar COVID-19 coverage

disputes” that were dismissed (Opp., 25.) But in approximately 300 of

those cases the policyholders either (i) did not allege the presence of



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virus on the premises, or (ii) alleged the presence of virus in mere

conclusory fashion. E.g., Blvd. Carroll Entm’t Grp., Inc. v. Fireman’s

Fund Ins. Co., No. CV2011711SDWLDW, 2020 WL 7338081, at *2

(D.N.J. Dec. 14, 2020) (no allegations of virus on premises); Boffo

Cinemas LLC v. Fireman’s Fund Ins. Co., No. 37-2021-5179, *2 (Cal.

Super. Ct. Aug. 27, 2021); Island Hotel Props., Inc. v. Fireman’s Fund

Ins. Co., 512 F. Supp. 3d 1323, 1326-27 (S.D. Fla. Jan. 11, 2021).4

     More than 200 of these dismissals involved application of broad

virus exclusions not at issue in this case. E.g., Downs Ford, Inc. v.

Zurich Am. Ins. Co., No. 3:20-cv-08595-BRM-ZNQ, 2021 WL 1138141,

at *4 (D.N.J. Mar. 25, 2021).

     Other cases cited by FFIC either did not involve the

Communicable Disease Coverage at issue here (Am. Food Sys., Inc. v.

Fireman’s Fund Ins. Co., 530 F. Supp. 3d 74, 76 n.3 (D. Mass. 2021)), or

contained little to no reasoning regarding the dismissal of the claims.

Saddle Ranch Sunset, LLC v. Fireman’s Fund Ins. Co., No.


     4 Hampshire House Corp. v. Fireman’s Fund Ins. Co., No. CV 20-
11409-FDS, 2021 WL 3812535, at *6 (D. Mass. Aug. 26, 2021)
(‘“presumed”’ threat of virus “has no physical effect on the property”);
Water Sports Kauai, Inc. v. Fireman’s Fund Ins. Co., 499 F. Supp. 3d
670, 674 (N.D. Cal. 2020).

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20STCV36531 (Cal. Super. Ct. Feb. 8, 2021) (summary order); Crescent

Hotels & Resorts, LLC v. Zurich Am. Ins. Co. & Fireman’s Fund Ins.

Co., No. 2021-02974, Transcript, *86-87 (Va. Cir. Ct. July 2, 2021) (“I

simply disagree that [virus] creates a physical loss or damage.”).

     Accordingly, the supposed 500 “similar” COVID-19 insurance

claims are not “similar” to F&S’s claim at all.

     Finally, FFIC cites a handful of cases that rejected claims for

coverage under policies similar to the Policies at issue here. However,

those courts purported to apply California,5 New York,6 and Indiana

law,7 finding the substantive law of these states required “physical

alteration” and tangible “damage.” See Marina Pac. Hotel & Suites, *8.

There is no such requirement under Washington law. E.g., Seattle




     5  Marina Pac. Hotel & Suites, LLC v. Fireman’s Fund Ins. Co.,
No. 20SMCV00952, *8 (Cal. Super. Ct. Oct. 5, 2021); Amy’s Kitchen, Inc.
v. Fireman’s Fund Ins. Co., No. SCV-268104, *9 (Cal Super. Ct. Sept. 8,
2021); Spaghettini v. Fireman’s Fund Ins. Co., No. SCV-266378, *10
(Cal. Super. Ct. Aug. 11, 2021) (California law).
      6 PS Bus. Mgmt. v. Fireman’s Fund Ins. Co., No. 21-1229, 2021

WL 4989870, *3 (E.D. La. Oct. 27, 2021) (New York law).
      7 Circle Block Partners, LLC v. Fireman’s Fund Ins. Co., No. 1:20-

cv-02512-JPH-MJD, 2021 WL 3187521, at *7 (S.D. Ind. July 27, 2021)
(Indiana law).

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Tunnel, 492 P.3d at 857 n.16 (coverage is triggered “when the loss of

use occurred because of a physical effect on the insured property”).

     Moreover, none of these courts properly considered communicable

disease as a “covered cause of loss.” That is, by finding COVID-19

incapable of causing physical loss or damage, these courts rendered the

Policies’ Communicable Disease Coverage illusory in violation of

Washington law. See Olympic S.S. Co., 811 P.2d at 680. The

Communicable Disease Coverage expressly refers to property “which

has been damaged or destroyed by the communicable disease.” 2-ER-59.

     FFIC’s post-loss interpretation involves circular reasoning. FFIC

argues F&S must allege “physical loss or damage to property” to trigger

the Communicable Disease Coverage (Opp., 47). Yet, FFIC also argues

COVID-19 “impacts human health and human behavior, not physical

structures,” and so it can never cause physical loss or damage. (Id., 34).

But FFIC’s flawed reasoning would apply to every communicable

disease. Under FFIC’s logic, no communicable disease could ever

trigger coverage, rendering the Communicable Disease Coverage

illusory. (Part I., supra). And it is the Communicable Disease Coverage

itself that demonstrates virus is a covered cause of loss for purposes of



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numerous other coverages under the Policies. Any other reading would

give FFIC an impermissible windfall. Or. Auto. Ins. Co. v. Salzberg, 535

P.2d 816, 819 (Wash. 1975) (rejecting interpretation that would “be

tantamount to a questionable windfall for the insurer”).

     Neither FFIC, the district court, nor any of the aforementioned

cases addressed this critical issue and, for that reason, none is

persuasive here.

     B.     F&S’s Allegations Regarding Presence of Coronavirus
            at the Hotel Trigger Coverage

     1.     Courts Credit Allegations Similar to F&S’s

     There is a reason why FFIC attempts to blur the lines between

F&S’s unique claims and many other policyholders’ claims based solely

on government orders: courts evaluating claims like F&S’s have found

well-pled allegations of virus on the premises sufficient to trigger

coverage.

     Indeed, numerous courts have found the presence of Coronavirus

(i.e., an external physical force) damages property and may render

property unsafe for its intended use, thus triggering coverage. Studio

417, Inc. v. Cincinnati Ins. Co., 478 F. Supp. 3d 794, 800-01 (W.D. Mo.

2020); (Opening Br., 55-57 (collecting cases)). This is especially apt


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where, as here, the Policies designate communicable disease as a

covered cause of loss capable of causing damage. 2-ER-58-59;

Cinemark, 500 F. Supp. 3d at 569.

     FFIC’s contention that pre-Coronavirus precedent evaluating

insurance claims involving toxic/hazardous/noxious substances has

“been widely rejected by COVID-19 coverage decisions” (Opp., 33) is

false. Numerous courts have applied this line of precedent, finding the

presence of Coronavirus (like the presence of a harmful substance)

damages property and renders it unsafe and unfit for its intended uses.

Schleicher & Stebbins Hotels, LLC v. Starr Surplus Lines Ins. Cos., No.

217-2020-CV-00309, 2021 WL 4029204, at *10 (N.H. Super. Ct. June 15,

2021) (applying Mellin v. N. Sec. Ins. Co., Inc., 115 A.3d 799 (N.H. 2015)

to Coronavirus-related losses); Elegant Massage, LLC v. State Farm

Mut. Auto. Ins., 506 F. Supp. 3d 360, 375 (E.D. Va. 2020) (applying First

Presbyterian Church to Coronavirus-related losses).8 Indeed, the




     8 FFIC’s designation of Elegant Massage as an “outlier”
(Opp., 34) is belied by other courts’ reliance on it. See, e.g., Novant
Health, Inc. v. Am. Guar. & Liab. Ins. Co., No. 1:21-CV-309, 2021 WL
4340006, at *3 (M.D.N.C. Sept. 23, 2021) (citing Elegant Massage and
holding allegations of Coronavirus on premises sufficient to withstand
dismissal).

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Second Circuit, citing to the same toxic/hazardous/noxious caselaw

relied on by F&S, acknowledged that “particulates like asbestos, odors,

and noxious fumes” cause physical damage to property and are

consistent with a “physical event” within the meaning of a “physical loss

or damage” business interruption coverage trigger. 10012 Holdings,

Inc. v. Sentinel Ins. Co., __ F.4th __, 2021 WL 6109961, at *3 (2d Cir.

Dec. 27, 2021) (complaint relied solely on government orders and failed

to allege a physical event).

     2.       FFIC Posits a Strawman Complaint in Place of F&S’s
              Well-Pled Allegations

     To attempt to avoid applicable toxic/hazardous/noxious substance

precedent, FFIC mischaracterizes F&S’s Complaint, arguing “F&S

would not meet that standard anyway because its hotel is and always

has been habitable—a fact not in dispute” (Opp., 28 n.4); and (“F&S

alleged only intangible, economic harm caused by the pandemic and the

government’s response to it.”) (Id., 21).

     But FFIC’s mischaracterizations do not control—the Complaint

controls. Ariix, LLC v. NutriSearch Corp., 985 F.3d 1107, 1114 (9th Cir.

2021).




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     This flaw plagues the entirety of FFIC’s brief: FFIC posits a

strawman complaint and requests dismissal of that strawman

complaint. But a court’s duty is to analyze the complaint before it and

determine whether those allegations, not the defendant’s interpretation

of those allegations, are sufficient. Soo Park v. Thompson, 851 F.3d

910, 918 (9th Cir. 2017) (holding if parties advance two alternative

plausible explanations, “plaintiff’s complaint survives a motion to

dismiss under Rule 12(b)(6)”).

     Here, far from conclusory allegations (Opp., 21), F&S alleged

physical loss or damage to its Hotel with detailed factual allegations,

including but not limited to:

      Due to the presence of Coronavirus and F&S’s inability to
       operate its Hotel safely, F&S closed the Hotel entirely on or
       about March 19, 2020 (3-ER-311-12 ¶¶38-39; 3-ER-333-34
       ¶110);

      Due to the presence of Coronavirus at the Hotel, as evidenced
       by F&S’s COVID-19+ employees, it is likely “transmission of
       the Coronavirus occurred at” the Hotel (3-ER-309 ¶31(1));

      Scientific studies show Coronavirus is highly contagious and,
       once airborne, infectious particles can travel twenty feet or
       more and remain suspended for indefinite periods of time (3-
       ER-320-22 ¶¶72-75), and air conditioning itself can spread
       Coronavirus through a building over 183 feet (id.);




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      No amount of routine surface cleaning could remove the
       aerosolized Coronavirus suspended in the air at F&S’s
       property, rendering the Hotel dangerous (3-ER-304 ¶15, 3-ER-
       311-12 ¶¶38-39); and

      Given the pervasiveness and contagious nature of Coronavirus,
       no amount of cleaning or ventilation intervention will prevent a
       person infected with Coronavirus from re-introducing the virus
       onto the premises (3-ER-330 ¶98).9

     FFIC’s argument that “COVID-19 harms people, not inanimate

objects” (Opp., 12) ignores the long line of precedent involving

toxic/hazardous/noxious substances. For six decades, courts have found

these substances cause physical loss or damage to insured property

precisely because they harm the people within them—rendering such

property unsafe for its intended uses. See, e.g., Or. Shakespeare

Festival Ass’n v. Great Am. Ins. Co., No. 15-cv-01932, 2016 WL 3267247,

at *4-9 (D. Or. June 7, 2016) (“poor air quality caused by the wildfire




     9  FFIC’s argument that Coronavirus dissipates “naturally through
the passage of time” (Opp., 39) would require the Court to determine
scientific facts at the pleading stage, which it may not do. Putting aside
that Coronavirus fomites may remain infectious for days after exposure
(3-ER-323-25 ¶¶77, 79-80), the consistent reintroduction of the virus
onto insured property renders cleaning or dissipation ineffective.
Novant Health, 2021 WL 4340006, at *2 (allegations that presence of
Coronavirus ‘“is not temporary”’ and is ‘“sustained through any
occupation of the property”’ sufficient to state a claim).

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smoke”), vacated pursuant to settlement, No. 15-cv-01932, 2017 WL

1034203 (D. Or. Mar. 6, 2017); (Opening Br., 47-48 (collecting cases)).

     FFIC’s argument that if F&S’s claims were covered, “then

virtually every piece of property in the world has been physically lost or

damaged” (Opp., 12), is a desperate, transparent plea by FFIC for this

Court to ignore the Policies’ language due to the purported potential for

insurer insolvency if policyholders prevail in any Coronavirus insurance

cases.

     In fact, only a tiny fraction of property policies even potentially

provide coverage for Coronavirus-related losses because: (1) 83% of

them, unlike the Policies, have express virus exclusions;10 and (2) most

have suit limitation provisions requiring policyholder suits be brought

within 1-2 years of the first date of physical loss or damage—provisions

that Washington law enforces. Camper v. State Farm Fire & Cas. Co.,

No. C20-5283 TLF, 2021 WL 1922976, at *3 (W.D. Wash. May 13,




     10  See Nat’l Ins. Ass’n of Ins. Commissioners, Business
Interruption/BusinessOwner’s Policies (BOP),
https://content.naic.org/cipr_topics/topic_business_interruptionbusiness
owners_policies_bop.htm (Dec. 9, 2020).

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2021). And even fewer expressly cover communicable disease as a

“covered cause of loss.”

     In any event, cries of insolvencies do not allow a court to relieve

insurers of their contractual coverage obligations. Aerojet Gen. Corp. v.

Transport Indem. Co., 948 P.2d 909, 932 (Cal. 1997) (refusing to rewrite

policy based on “public policy considerations” and enforcing policy as

written). What’s more, relieving FFIC of its obligations when it charged

premiums for Communicable Disease Coverage would prejudice F&S

and deliver FFIC a windfall. See Salzberg, supra.

     C.    “Period of Restoration” Does Not Alter the Coverage
           Trigger

     FFIC relies heavily on “Period of Restoration” to inappropriately

rewrite the Policies’ coverage trigger. FFIC claims F&S must allege

“property had to be repaired or rebuilt or the physically lost property

had to be replaced” to trigger coverage in the first instance (Opp., 19).

FFIC is wrong.

     First, “Period of Restoration,” when it applies at all, is a time

limitation only on the recoverable damages after a covered cause of loss

(here communicable disease or any other kind of physical loss or

damage to insured property). “Period of restoration means the period of


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time that begins immediately after the time of direct physical loss or

damage caused by or resulting from a covered cause of loss to

property….” 2-ER-95.

     The Business Interruption insuring agreement’s use of the

temporal “during the period of restoration” also supports F&S’s

interpretation:

     [W]e will pay for the actual loss of business income and
     necessary extra expense you sustain due to the necessary
     suspension of your operations during the period of restoration
     arising from direct physical loss or damage to property at a
     location . . . caused by or resulting from a covered cause of loss.

2-ER-43.

     F&S’s interpretation is also consistent with long-settled

Washington law that treats the period of restoration as a duration of

time measurement. Anderson & Middleton Lumber Co. v. Lumbermen’s

Mut. Cas. Co., 333 P.2d 938, 942 (Wash. 1959). Nothing in Washington

law supports FFIC’s post-loss interpretation and attempted re-write of

the Policies. All “Period of Restoration” does is limit the amount of

damages collectible to a reasonable period of time required to restore a

business to its normal operations.




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     Second, FFIC is relying on “Period of Restoration” to impose a

structural alteration requirement as an additional condition for

coverage. But its position was rejected long before Coronavirus. For

decades pre-Coronavirus, courts consistently rejected insurers’ attempts

to use such provisions to impose a structural alteration requirement,

holding that toxic/hazardous/noxious substances that can be removed by

cleaning or dissipation do cause physical loss or damage when those

substances sufficiently impair a property’s functional use. See, e.g.,

Gregory Packaging, Inc. v. Travelers Prop. Cas. Co. of Am., No. 2:12-cv-

04418 (WHW)(CLW), 2014 WL 6675934, at *2 (D.N.J. Nov. 25, 2014)

(ammonia constitutes physical loss or damage; rejecting insurer’s

argument ‘“physical loss or damage’ necessarily involves ‘a physical

change or alteration to insured property requiring its repair or

replacement’”); Or. Shakespeare, 2016 WL 3267247, at *6 (“poor air

quality caused by the wildfire smoke” is physical loss or damage;

rejecting insurer’s argument period of restoration requires “structural

repairs”).

     Third, “Period of Restoration” operates as a time measurement

limitation only where damage to property is capable of being



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repaired/replaced/rebuilt so that the insurer does not have to pay for

additional business income loss if the policyholder is not progressing

reasonably fast. Indeed, the Policies’ “Period of Restoration” language

qualifies that the period ends on the earlier of:

     (1) The date when such property at the location should
     be repaired, rebuilt, or replaced with reasonable speed
     and like kind and quality; or

     (2) The date when business is resumed at a new
     permanent location.

2-ER-95.

     Here, FFIC contends Coronavirus can be removed by simple

cleaning or dissipation (Opp., 38-39). In contrast, F&S alleged

Coronavirus cannot be removed from surfaces via routine cleaning and

cannot be effectively removed from the air at all. 3-ER-327-30 ¶¶88-98.

This is a fact dispute incapable of resolution on a motion for judgment

on the pleadings (“MJOP”).

     Due to its pervasive and contagious nature, Coronavirus is

constantly reintroduced into public spaces by the presence of infected

persons. This renders any cleaning procedures (or potential dissipation)

futile. 3-ER-330 ¶98. In fact, contrary to FFIC’s argument (Opp., 12,




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38-39)11 courts have found cleaning or dissipation of substances—such

as ammonia, carbon monoxide or smoke—sufficient “repairs” within the

broad meaning of period of restoration. See Gregory Packaging, 2014

WL 6675934, at *3 (holding facility unfit for occupancy “until the

ammonia was sufficiently dissipated”).12

     Finally, Washington Supreme Court caselaw for the past sixty

years and insurance treatises authored by policyholder and insurer

attorneys all agree the duration of the restoration period and the

quantum of covered damages are issues of fact for the jury to resolve.

See Anderson, 333 P.2d at 942; Richard P. Lewis et al. Business Income

Insurance Disputes § 5.02[J] (2d ed. 2020); 10A Steven Plitt et al.,

Couch on Ins. § 167:18 (3d ed. 2021); see also W. Am., Inc. v. Aetna Cas.

& Sur. Co., 915 F.2d 1181, 1183 (8th Cir. 1990).




     11  FFIC argues “[c]leaning is neither repair nor replacement,” but
relies largely on cases decided on summary judgment after fact and
expert discovery, and ignores the many toxic/hazardous/noxious
substance cases that hold to the contrary.
      12 Neither “repaired” nor “replaced” is defined in the Policies; as

evidenced by Gregory Packaging, neither requires physical alteration to
property by its plain meaning. “Repair” means “to restore to a sound or
healthy state.” Repair, MERRIAM-WEBSTER, https://www.merriam-
webster.com/dictionary/repair.

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      F&S’s understanding of the Policies is also consistent with the

Business Interruption insuring agreement, which distinguishes factual

issues from the coverage trigger. The coverage trigger is “direct

physical loss or damage” to property. Factual issues surrounding the

amount of the recovery are raised by the language that precedes the

coverage trigger, including: (i) “actual” loss sustained; (ii) “necessary”

extra expenses; and (iii) “during” the period of restoration. These

factual issues are reached only after direct physical loss or damage

caused by a covered cause of loss.

      Thus, “Period of Restoration” is a time measuring device that

creates factual issues over its end date (and whether and when “repair”

was possible) incapable of resolution on a MJOP. NeCo, Inc. v. Owners

Ins. Co., 520 F. Supp. 3d 1175, 1184 (W.D. Mo. 2021) (holding

“[d]iscovery will ultimately show” extent of policyholder’s restoration

efforts).

      D.    FFIC Misrepresents F&S’s Criticism of Couch on
            Insurance

      FFIC argues Couch on Insurance remains a “respected” source,

and that Couch’s author did not repudiate his position as enunciated in

the treatise (Opp., 42).


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     F&S never argued Couch was not a respected authority; rather, it

highlighted the “Couch test” for physical loss or damage was flawed, as

the authors failed to consider the overwhelming majority of decisions

supporting the loss of use test—a fact FFIC fails to refute. (Opening

Br., 41-42).

     And, contrary to FFIC’s contention, Couch’s lead author—Steven

Plitt—did acknowledge courts are trending away from the “physical

alteration” test toward “loss of use” and yet never corrected the Couch

test’s misstatement of law in the treatise:

           The modern trend signals that courts are not
           looking for physical alteration, but for loss of use.
           This is trend of where the law is going.

Steven Plitt, Direct Physical Loss in All-Risk Policies: The Modern

Trend Does Not Require Specific Physical Damage, Alteration, Claims J.

(Apr. 15, 2013), https://amp.claimsjournal.com/magazines/idea-

exchange/2013/04/15/226666.htm.

III. FFIC IGNORES THE “SLOWDOWN” COVERAGE

     FFIC ignores the Policies’ coverage for “slowdown” of operations.

2-ER-98. This is crucial, as the district court distinguished F&S’s claim

from other toxic/hazardous/noxious substance claims because



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Coronavirus “does not cause the all-encompassing loss Port Authority13

equated with physical damage”—that is, damage severe enough to

render the property completely useless (i.e., a complete shutdown). 1-

ER-10-11. But F&S need not allege an “all-encompassing loss.” The

Policies provide coverage for loss of business income sustained “due to

the necessary Suspension of” operations, (2-ER-43), with “Suspension”

defined as “the slowdown or cessation of [] operations, or that a part or

all of the described premises is rendered untenable [sic].” 2-ER-98.

     The district court’s holding thus rendered the Policies’ “slowdown”

coverage meaningless, violating Washington’s well-settled rule that all

policy provisions be given effect. Queen City Farms, Inc. v. Cent. Nat’l

Ins. Co. of Omaha, 882 P.2d 703, 727 (Wash. 1994). FFIC’s failure to

address this issue is telling, and reversal on this basis alone is

appropriate.




     13 Port Authority of New York and New Jersey v. Affiliate FM Ins.
Co., 311 F.3d 226 (3d Cir. 2002).

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IV.   GOVERNMENT ORDERS, ISSUED IN RECOGNITION OF
      CORONAVIRUS’ PHYSICAL DAMAGE TO PROPERTY,
      DEPRIVED F&S OF PHYSICAL USE OF ITS PROPERTY

      F&S alleges its losses were caused, in part, by government-

imposed restrictions on F&S’s use of its Hotel. 3-ER-313 ¶¶44-45; 3-

ER-336-37 ¶¶118-119, 121.14 While FFIC argues that “[m]ere economic

harm or loss of use is insufficient” to trigger coverage (Opp., 16), that is

not what occurred here.

      Rather, as alleged, the government orders were issued in

recognition of the dangers that Coronavirus poses to property. 3-ER-

335-37 ¶¶117-19, 122. Indeed, Governor Inslee’s March 16, 2020 order

recognized Coronavirus was “affecting life, health, property or the

public peace,” and was thus issued to “help preserve and maintain life,

health, property or the public peace[.]” 3-ER-336 ¶118 n.100.

      The context in which government orders were issued, coupled with

F&S’s unique Communicable Disease Coverage, is what separates




      14However, as noted in the Opening Brief, F&S closed its Hotel
before the issuance of the government orders because of the damage
caused by COVID-19. Compare 3-ER-313 ¶45, with 3-ER-336 ¶¶118-19.
The district court failed to credit this allegation when it found “all that
is required for Plaintiff to return to full working order is for the
Governor to lift the decrees and restrictions.” 1-ER-11.

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F&S’s claim from a mere “loss of use” claim. The government orders

were not issued in a vacuum—they were issued in recognition of the

damage and unsafe property conditions created by COVID-19—exactly

what FFIC charged premiums to cover under the Policies at issue here.

(Opening Br., 11-12; 32-36). Thus, F&S’s losses in this regard were not

caused by a mere “inability to use property,” (Opp., 27)—they were

caused by widespread property damage due to the presence of a

communicable disease (i.e., a “covered cause of loss”).

     Recognizing this, courts have distinguished the mere “loss of use”

caselaw relied on by FFIC. Snoqualmie Entm’t Auth. v. Affiliated FM

Ins. Co., No. 21-2-03194-0 SEA, 2021 WL 4098938, at *5 (Wash. Super.

Ct. Sept. 2, 2021) (distinguishing Wolstein, Fujii, and Seattle Tunnel,

reasoning these cases “did not address the types of losses caused by the

COVID-19 closure orders and Tribal resolutions in the context of the

policy language at issue”).

     Furthermore, considering relevant dictionary definitions of the

term “loss,” F&S’s proffered interpretation is, at minimum, reasonable.

Id. at *5 (finding coverage triggered when policyholder is “deprived of

the ability to physically use, operate, or manipulate its properties”);



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Perry St. Brewing Co., LLC v. Mut. Of Enumclaw Ins. Co., No. 20-2-

02212-32, 2020 WL 7258116, at *3 (Wash. Super. Ct. Nov. 23, 2020)

(citing Nautilus Grp., Inc. v. Allianz Global Risks US, No. C11-

5281BHS, 2012 WL 760940 (W.D. Wash. Mar. 8, 2012)).

     Nautilus is also instructive here. There, the court rejected the

insurer’s argument—like FFIC’s argument—that “direct physical loss or

damage” requires the insured property to be “physically altered.” Id. at

*6. That Nautilus involved theft of insured property is irrelevant. The

policyholder knew where its property was located and was trying to get

it back. Id. at *2-3. There was no indication the property was

permanently lost. Id. Thus, FFIC’s contention that Nautilus involved

“permanent” dispossession of property (Opp., 32) is simply inaccurate.

     Accordingly, Snoqualmie and Perry Street’s holdings—government

orders depriving a policyholder of the physical use of its property

constitutes “physical loss”—are supported by Washington law. See Neer

v. Fireman’s Ins., 692 P.2d 830, 832 (Wash. 1985) (“Washington has

adopted as a definition of loss, loss of use or function”). At minimum,

these divergent judicial interpretations of the term “loss” demonstrate

the coverage language is ambiguous—requiring a finding of coverage.



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See, e.g., Am. Best Food, Inc. v. Alea London, Ltd., 229 P.3d 693, 698-99

(Wash. 2010).15

V.   F&S STATES A CLAIM UNDER THE POLICIES’
     EXTENSIONS OF COVERAGE

     With respect to its claims under the Policies’ Extensions of

Coverage, F&S relies on the allegations in its Complaint.

     Contrary to FFIC’s argument, the Civil Authority coverage does

not require a “complete prohibition of access” (Opp., 43) to covered

property. E.g., Pez Seafood DTLA, LLC v. Travelers Indem. Co., 514 F.

Supp. 3d 1197, 1206-07 (C.D. Cal. 2021) (finding complete prohibition is

not required).

     FFIC’s other contention, there was no “causal nexus” between the

loss or damage caused by Coronavirus and government orders, is belied

by the plain language of the government orders issued around the



     15 FFIC argues “Hill & Stout offers no help” to F&S because the
court rejected coverage for government orders at the summary
judgment stage (Opp., 30-31). But this case is not at the summary
judgment stage—it is at the pleading stage. Also, the judge originally
assigned to Hill & Stout found that government orders constituted
physical loss. See Hill & Stout PLLC v. Mut. of Enumclaw Ins. Co., No.
20-2-07925 SEA, 2020 WL 6784271, at *3 (Wash. Super. Ct. Nov. 13,
2020). If anything, the difference in opinions amongst these jurists
demonstrates further ambiguity, favoring F&S. Am. Best Food, 229
P.3d at 698-99.

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country (and in Washington). E.g., id. at 1206 (holding “the Orders were

caused, at least in part, by these losses: ‘This Order is given because,

among other reasons, the COVID-19 virus . . . is physically causing

property loss or damage due to its tendency to attach to surfaces for

prolonged periods of time’”).16

VI.   THE MORTALITY AND DISEASE EXCLUSION DOES NOT
      APPLY

      FFIC raises the Policies’ M&D Exclusion—mislabeling it a

“virus exclusion”—arguing the exclusion precludes coverage (Opp., 47-

48). But FFIC fails to meet its heavy burden of showing the M&D

Exclusion applies. State Farm Fire & Cas. Co. v. Ham & Rye, L.L.C.,

174 P.3d 1175, 1178-79 (Wash. Ct. App. 2007).

      First, the plain language of the M&D Exclusion provides it applies

to losses associated with death: “Mortality, death by natural causes,

disease, sickness, any condition of health, bacteria, or virus.” 2-ER-44-

45. Indeed, an average policyholder reading this exclusion would

construe the excluded “losses” to be related to death arising from some



      16For the same reasons, F&S sufficiently alleges Business Access
coverage, which merely requires access to insured property be
“impaired or obstructed.” 2-ER-55. F&S’s arguments regarding the
Policies’ Communicable Disease Coverage are set forth, supra.

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illness contracted by an individual, and F&S has not alleged any loss

based on a death at its Hotel.

     Thus, contrary to FFIC’s contention, the M&D Exclusion is not an

all-encompassing “virus” exclusion (Opp., 47). FFIC could have easily

drafted such an exclusion had it wanted to exclude losses caused by a

virus. But it did not (instead, it affirmatively provided coverage for

communicable disease). Indeed, when FFIC wanted to exclude

something unequivocally in the Policies, it did so. E.g., 2-ER-132

(“Fungus whether or not caused by or result from an accident.”).17

     Furthermore, if other losses due to virus besides “Mortality and

Disease” were not otherwise covered, “then this provision would be

unnecessary.” Nautilus, 2012 WL 760940, at *7 (if theft was not a

covered risk, policy would not have excluded theft by employees).

Consequently, a reasonable interpretation is the Policies cover physical

loss or damage due to virus, so long as the loss is not the mortality and

disease of an individual. Id.




     17 Additionally, had FFIC wanted to exclude losses caused by
virus, the 2006 Insurance Services Office’s Virus Exclusion—titled
“EXCLUSION OF LOSS DUE TO VIRUS OR BACTERIA”—was
available to FFIC. FFIC’s failure to adopt this Exclusion is telling.

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     Second, and more importantly, the M&D Exclusion cannot be

enforced here because it would nullify the Policies’ Communicable

Disease Coverage. There is no language in the Policies that harmonizes

the conflict between FFIC’s post-loss reading of the M&D Exclusion and

the actual text of the Communicable Disease Coverage (discussed,

supra), which explicitly recognizes property can be “damaged or

destroyed by the communicable disease.” 2-ER-58-59. For instance,

COVID-19 is unquestionably a “communicable disease” (and, thus, a

covered cause of loss under the Policies); yet, the Communicable

Disease Coverage does not contain any provision insulating it from the

M&D Exclusion—which FFIC argues precludes F&S’s losses. Nor does

the M&D Exclusion contain any carve-out for the Communicable

Disease Coverage—which is precisely where exceptions to exclusions

must appear. See B. Ostrager et al., Handbook on Ins. Coverage

Disputes § 1.01[b] (20th ed. 2020) (quoting Am. Fam. Mut. Ins. Co. v.

Am. Girl, Inc., 673 N.W.2d 65, 73 (Wis. 2004) (“An exception pertains

only to the exclusion clause within which it appears”)).

     Thus, the M&D Exclusion is in direct conflict with the

Communicable Disease Coverage, and this conflict must be construed in



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favor of coverage. Ross Stores, Inc. v. Zurich Am. Ins. Co., No. RG20-

084158, 2021 WL 3700659, at *11 (Cal. Super. Ct. July 13, 2021)

(holding “Contamination exclusion” ambiguous and did not bar coverage

for Coronavirus-related losses, where policy had “Communicable

Disease Response,” “Decontamination Costs,” and “Interruption by

Communicable Disease,” but Contamination Exclusion contained no

carve-out for these coverages); Kings Ridge Cmty., 98 So.3d at 79

(finding ambiguity where the exclusions “directly contradict and conflict

with the coverage provided in the collapse coverage”).

      An overbroad exclusion that swallows affirmative coverages is

simply unenforceable. See Brighton Collectibles, LLC v. Certain

Underwriters at Lloyd’s London, 798 F. App’x 144, 145-46 (9th Cir.

2020) (rejecting interpretation of exclusion that would render “the

policies’ express coverage . . . ‘practically meaningless’”).




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                               CONCLUSION

     The judgment below should be vacated, the order dismissing

F&S’s claims reversed, and this case remanded for further proceedings.


Date: December 29, 2021

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               UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT

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